                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:04 CV 234

BURTON A. GELLMAN, et al,                    )
                      Plaintiffs,            )
                                             )
      v.                                     )
                                             )
CINCINNATI INSURANCE COMPANY,                )
et al,                                       )
                        Defendants.          )
______________________________________

                                        ORDER


      THIS MATTER IS BEFORE THE COURT on its own motion. IT IS HEREBY
ORDERED that a Dispositive Motions Hearing will be held on March 10, 2009, at 10:00 a.m.
in Courtroom #3.

      IT IS SO ORDERED.

                                                 Signed: February 19, 2009




      Case 3:04-cv-00234-GCM        Document 63      Filed 02/19/09    Page 1 of 1
